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                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

                                                :
In re:                                          :
                                                :
   Toru Paul May                                :    Case No.: 10-34059
                                                :    Chapter 13
          Debtor.                               :    Judge Joan A. Lloyd
                                                :    *********************
                                                :



            OBJECTION TO CONFIRMATION OF PLAN (DOCKET NUMBER 3)

          Now comes The Bank of New York Mellon Trust Company, National Association fka

The Bank of New York Trust Company, N.A. as successor to JPMorgan Chase Bank N.A. as

Trustee ("Creditor"), by and through its mortgage servicing agent GMAC Mortgage LLC, by and

through its attorneys, Manley Deas Kochalski LLC, and objects to confirmation of the Chapter

13 plan of Toru Paul May (''Debtor''). For the reasons which follow, confirmation should be

denied.

                        MEMORANDUM IN SUPPORT OF OBJECTION

          Creditor is a creditor herein secured by a mortgage lien upon the Debtor=s real estate

located at 8003 Broadfern Drive, Louisville, KY 40291. The Debtor=s Chapter 13 Plan proposes

to treat Creditor's claim unfairly by providing for an inadequate arrearage amount. The amount

of the arrearage in the Chapter 13 Plan is $3,481.00 and the amount that Creditor has calculated

and included in its claim is $5,386.29. In addition, Creditor objects to said treatment and asserts

that, as of the petition date herein, Creditor's claim was fully secured by value in the real estate.

Accordingly, ' 1322(b)(2) of the Bankruptcy Code and the United States Supreme Court's




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holding in Nobleman v. American Savings Bank (In re: Nobleman), 508 U.S. 324 (1993)

prohibit the Debtor's proposed modification of Creditor's mortgage.

       We are filing this Objection solely to give Notice to the Court that we object to the Plan

as stated because the arrearage is less than our Proof of Claim. It is our understanding that the

Trustee intends to pay our Claim based on our file-stamped Proof of Claim, and that the Debtor

does not have an Objection to our Proof of Claim arrearage amount.

       If no response is filed to this Objection by the Trustee, Debtor, or any other interested

party, we acknowledge that the Court will confirm the Plan based on our Proof of Claim amount,

and that amount will be paid by the Trustee.

                                                      Respectfully submitted,

                                                       /s/ James E. Tebbutt
                                                      James E. Tebbutt (KBA #93510)
                                                      Holly N. Wolf (KBA #92245)
                                                      Manley Deas Kochalski LLC
                                                      P.O. Box 165028
                                                      Columbus OH 43216-5028
                                                      614-220-5611; Fax: 614-627-8181
                                                      jet@mdk-llc.com; kybnkr@mdk-llc.com
                                                      Attorney for Creditor




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Objection to Confirmation

was served on the parties listed below via e-mail notification:

Office of U.S. Trustee                               William W. Lawrence
Western District of Kentucky                         310 Republic Plaza
Party of Interest                                    200 South Seventh Street
601 West Broadway, #512                              Louisville, KY 40202
Louisville, KY 40202
                                                     Christopher T. Kurtz
                                                     Attorney for Toru Paul May
                                                     2721 Taylorsville Road
                                                     Louisville, KY 40205
                                                     ctkkurtz@aol.com



The below listed parties were served via regular U.S. Mail, postage prepaid on August 19, 2010:

Toru Paul May
8003 Broadfern Drive                                 GMAC Mortgage
Louisville, KY 40291                                 3451 Hammond Avenue
                                                     PO Box 780
Chase Bank USA NA                                    Waterloo, IA 50704
PO Box 15298
Wilmington, DE 19850
                                                      /s/ James E. Tebbutt
                                                     James E. Tebbutt




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